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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
JOSEPH GAMBARDELLA, as administrator                         :
of the estate of Leslie Gambardella,                         :
                           Plaintiff,                        :
                                                                 ORDER OF DISMISSAL
v.                                                           :
                                                             :
                                                                 18 CV 10867 (VB)
TRICAM INDUSTRIES, INC. and HOME                             :
DEPOT U.S.A., INC.,
                           Defendants.
-------------------------------------------------------------x

        The Court has been advised that the parties have settled this case. Accordingly, it is

hereby ORDERED that this action is dismissed without costs, and without prejudice to the right

to restore the action to the Court’s calendar, provided the application to restore the action is

made by no later than March 15, 2021. To be clear, any application to restore the action must be

filed by March 15, 2021, and any application to restore the action filed thereafter may be denied

solely on the basis that it is untimely.

        All other deadlines, scheduled conferences, or other scheduled court appearances are

canceled. Any pending motions are moot.

Dated: January 27, 2021
       White Plains, NY

                                                     SO ORDERED:



                                                     ____________________________
                                                     Vincent L. Briccetti
                                                     United States District Judge
